            Case 8:20-cv-00993-MCS-ADS Document 63 Filed 07/01/21 Page 1 of 3 Page ID #:675


            1    JASON C. LO, SBN 219030
                    jlo@gibsondunn.com
            2    MATTHEW BENJAMIN (pro hac vice)
            3       mbenjamin@gibsondunn.com
                 RAYMOND A. LAMAGNA, SBN 244821
            4        rlamagna@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
            5    333 South Grand Avenue
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000 • Fax: 213.229.7520
            7
                 Attorneys for Plaintiff Netlist Inc.
            8
            9    EKWAN E. RHOW, SBN 174604
                    erhow@birdmarella.com
          10     MARC E. MASTERS, SBN 208375
          11        mmasters@birdmarella.com
                 KATE S. SHIN, SBN 279867
          12        kshin@birdmarella.com
          13     CHRISTOPHER J. LEE, SBN 322140
                    clee@birdmarella.com
          14     BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
          15     DROOKS, LINCENBERG & RHOW, P.C.
                 1875 Century Park East, 23rd Floor
          16     Los Angeles, CA 90067-2561
          17     Telephone: 213.201.2100 • Fax: 213.201.2110

          18     Attorneys for Defendant Samsung Electronics Co., Ltd.

          19                              UNITED STATES DISTRICT COURT
          20                            CENTRAL DISTRICT OF CALIFORNIA
          21                                      SOUTHERN DIVISION
          22     NETLIST INC., a Delaware                     CASE NO. 8:20-cv-993-MSC (DFMx)
                 corporation,
          23                                              JOINT STIPULATION TO CONTINUE
                                     Plaintiff,           HEARING DATE AND EXTEND
          24                                              DEADLINES
                       v.
          25                                              [Proposed] Order and Declaration of
                 SAMSUNG ELECTRONICS CO.,                 Jason Lo filed concurrently herewith
          26     LTD., a Korean corporation,
                                                          Action Filed: May 28, 2020
          27                         Defendant.           Trial Date    November 30, 2021
          28

Gibson, Dunn &
Crutcher LLP                                              1
                            JOINT STIPULATION TO CONTINUE HEARING DATE AND EXTEND DEADLINES
            Case 8:20-cv-00993-MCS-ADS Document 63 Filed 07/01/21 Page 2 of 3 Page ID #:676


            1          WHEREAS, Defendant Samsung Electronics Co., Ltd. has filed a dispositive
            2    Motion for Judgment on the Pleadings, noticed for hearing on July 26, 2021 (Dkt. 60);
            3          WHEREAS, the Court previously instructed the parties to cooperate in the
            4    scheduling and briefing on the Motion (Dkt. 55), and the parties have since conferred;
            5          WHEREAS, Plaintiff Netlist Inc. requires more time to prepare its opposition,
            6    and its lead counsel, Mr. Jason Lo, is in trial on July 26, 2021, in another matter;
            7          WHEREAS, Plaintiff has therefore requested a continuance of the hearing date
            8    on Defendant’s Motion by three weeks to August 16, 2021, to address its above
            9    concerns;
          10           WHEREAS, Defendant hereby agrees to continue the hearing date on its Motion
          11     to August 16, 2021.
          12           WHEREAS, should the Court grant a continuance of the hearing date for
          13     Defendant’s Motion, Defendant requires additional time to prepare a Motion for
          14     Summary Judgment and to complete fact discovery, given that the Parties will lack
          15     certainty on which claims will survive ruling on Defendant’s Motion until the August
          16     16, 2021 hearing.
          17           WHEREAS, Defendant concurrently requests that the filing and hearing dates
          18     for Motions for Summary Judgment also be extended by at least three weeks from
          19     August 16, 2021 and September 20, 2021 respectively as currently scheduled (Dkt. 41
          20     at 3) to September 9, 2021 (accounting for Labor Day and Rosh Hashanah) and
          21     October 18, 2021 (accounting for Columbus Day) respectively.
          22           WHEREAS, Defendant concurrently also requests that the close of Fact
          23     Discovery be extended by at least three weeks from August 16, 2021 as currently
          24     scheduled (Dkt. 41 at 3) to September 9, 2021 (accounting for Labor Day and Rosh
          25     Hashanah).
          26           WHEREAS, Plaintiff does not oppose Defendant’s requests to extend deadlines;
          27           THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
          28     between Netlist and Samsung, that:

Gibson, Dunn &
Crutcher LLP                                                 2
                             JOINT STIPULATION TO CONTINUE HEARING DATE AND EXTEND DEADLINES
            Case 8:20-cv-00993-MCS-ADS Document 63 Filed 07/01/21 Page 3 of 3 Page ID #:677


            1          1.     The hearing on Plaintiff’s Motion to Dismiss on the Pleadings may be
            2                 continued to August 16, 2021;
            3          2.     The filing and hearing dates for Motions for Summary Judgment may be
            4                 extended to September 9, 2021 and October 18, 2021 respectively;
            5          3.     The close of Fact Discovery may be extended to September 9, 2021.
            6
            7    Dated: July 1, 2021
                                                         GIBSON, DUNN & CRUTCHER LLP
            8
            9
                                                         By: /s/ Jason C. Lo
          10                                             Jason C. Lo
          11
                                                         Attorneys for Plaintiff Netlist Inc.
          12
          13     Dated: July 1, 2021
                                                         BIRD, MARELLA, BOXER, WOLPERT,
          14                                             NESSIM, DROOKS, LINCENBERG &
                                                         RHOW, P.C.
          15
          16
                                                         By: /s/ Ekwan E. Rhow
          17                                             Ekwan E. Rhow
          18
                                                         Attorneys for Defendant Samsung Electronics
          19                                             Co., Ltd.
          20
          21                                        ATTESTATION
          22           Pursuant to Local Rule 5-4.3.4, I hereby attest that all other signatories listed,
          23     and on whose behalf the filing is submitted, concur in the filing’s content and have
          24     authorized the filing.
          25
          26
                 Dated: July 1, 2021                     By: /s/ Jason C. Lo
          27                                             Jason C. Lo
          28

Gibson, Dunn &
Crutcher LLP                                                 3
                            JOINT STIPULATION TO CONTINUE HEARING DATE AND EXTEND DEADLINES
